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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

UNITED STATES OF AMERICA §
                         § 1:17CR153(3)
v. § Judge Thad Heartfield
                                               §
MIGUEL GERARDO RODRIGUEZ (3) §
                                               §
                            FACTUAL BASIS AND STIPULATION

        The United States of America, presents to the Court, by and through the

undersigned Assistant United States Attorney in and for the Eastern District of Texas,

joined by the defendant, Miguel Gerardo Rodriguez and the defendant's attorney David

Grove, and presents this factual basis and stipulation in support of the defendant's plea of

guilty to Count One of the information, and in support thereof, would show the

following:

1. That the defendant hereby stipulates and agrees to the truth of all matters set forth

        in this factual basis and stipulation, and agrees that such admission may be used

        by the Court in support of his plea of guilty to:

        • Count One of the information, which charges a violation of 21 U.S.C. § 846,

            conspiracy to possess with the intent to distribute a Schedule II controlled

            substance, namely 5 kilograms or more cocaine HCL;

2. That the defendant, who is pleading guilty to such information, is one and the

        same person charged in the information.

3. That the events described in the information occurred in the Eastern District of

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        Texas and elsewhere.


4. That had this matter proceeded to trial, the government, through the testimony of

        witnesses, including expert witnesses, and through admissible exhibits, would

        have proven, beyond a reasonable doubt, each and every essential element of the


        offense alleged in the information; specifically, the government would have

        proven the follo ing stipulated facts:

            a. In December 2013, DBA Galveston Resident Office agents established a
                Cooperating Source ( CS1 ) who provided information into the drug
                trafficking activities of Alvaro Romero. CS1 advised that Romero
                obtained narcotics from a source in the Rio Grande Valley, had them
                transported to the Houston area, and then distributed them through the
                Eastern District of Texas to Lake Charles, Louisiana, and other locations
                 further east.

            b. CS1 advised that before becoming a CS, he/she had purchased
                approximately two hundred and fifty (250) pounds of marijuana and eight
                (8) kilograms of cocaine from Romero.

            c. On January 8, 2014, agents did a buy walk for three pounds of marijuana
                using the CS 1. Romero sold the CS 1 three pounds of marijuana for
                $1,500. Romero also told the CS1 that he had sold six kilograms of
                 cocaine that week. The transaction happened at Romero s stash house at
                 558 Dale Street, Houston, Texas 77060.

            d. On January 23, 2014, agents did a second buy walk with CS1 and Romero
                for an additional three (3) pounds of marijuana for $1,500.

            e. On January 25, 2014, Romero contacted the CS1 and said he would be
               traveling south to bring back cocaine. On January 28, 2014, Romero
                contacted CS1 and said he had picked up five kilograms of cocaine.

            f. Based on these calls, Title III wire and electronic interceptions began.

            g. During the initial round of interception, agents learned of Arturo Elizondo
                and Miguel Gerardo Rodri uez supplied Romero.


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            h. During the course of the wire and electronic interceptions, Rodriguez was
                involved with the following drug amounts during the following sessions
                and/or exhibits:

 Date                       Phone              Session(s)/Exhibit(s) Amount
 March 4, 2014              281-889-4897        84, 94, 193, 237,    6.54 kilograms of
                                               471, 508              methamphetamine
                                                                     actual
                                                                     2.18 kilograms
                                                                     cocaine HCL
 April 21, 2014             CS                 N-20                  56 grams cocaine
                                                                     HCL
 May 7, 2014                832-987-6066       43, 120               224 grams cocaine
                                                                     HCL
 May 10, 2014               832-987-6066       319                   18.144 kilograms
                                                                     marijuana
 May 14, 2014               832-987-6066       684, 692              252 grams cocaine
                                                                     HCL
 May 19, 2014               832-987-6066        1283, 1302, 1365,    2.268 kilograms
                                                1636, 1655, 1662,    marijuana
                                                1663
 May 22, 2014               832-987-6066        1665                 35 grams cocaine
                                                                     HCL
 May 26, 2014               832-987-6066       1322, 1450, 1578,     7.121 kilograms
                                               1858, 2009, 2059,     methamphetamine
                                               2069,2177


            i. Agents made the following seizures:

 Date                      Location          Co-conspirator(s)      Contraband
 February 25, 2014         Beaumont, TX      Courier 1              0.5 kg cocaine
                                             Romero
                                             Elizondo
 March 2,2014              Kingsville, TX    Courier 2              2.18 kg cocaine
                                             Courier 3              6.54 kg
                                             Romero                 methamphetamine
                                             Alonso                 actual
                                             Rodri uez
 April 17,2014             Friendswood, TX   FNULNU                 2 ounces
                                             Alonso                 methamphetamine
                                                                    actual
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 May 26, 20014             Sarita, TX        Lopez                     7.12 kgs
                                             Romero                    methamphetamine
                                             Rodri uez                 actual
 June 6,2014               West Houston.     Jose Rubio                15 kg cocaine HCL
                           TX                Ines Rubio                discussed
                                             Aviles                    10 kg seized
                                             Worrell
 June 10, 2014             Houston TX        Jose Rubio                (SW of Jose Rubio s
                                             Worrell                   home)
                                                                       1 assault rifle
                                                                       2 handguns
                                                                       Body armor
                                                                       Note from Worrell
                                                                       about June 6 event
 July 10, 2014             Kingsville, TX    Courier 4                 2.4 kg cocaine HCL
                                             Alonso

            j. Through the course of the conspiracy, Rodriguez was personally
                res onsible for distributing and agreeing to distribute 2.74 kilograms of
                cocaine HCL. 13.676 kilograms of a mixture or substance containing
                methamphetamine, and 20.412 kilograms of marijuana.



                DEFENDANT'S SIGNATURE AND ACKNOWLEDGMENT

5. I have read this factual basis and stipulation and information or have had them

        read to me and have discussed them with my attorney. I fully understand the

        contents of this factual basis and stipulation and agree without reservation that the

        United States can prove each of these acts and that it accurately describes the

        events about my acts and the events as recited as I know them.




Dated:  <H
  ~ MIGUEL   ~~ A RODRIGUEZ
           GERARDO  / 7

                                            Defendant

           DEFENSE COUNSEL'S SIGNATURE AND ACKNOWLEDGMENT
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6.       I have read this factual basis and stipulation and the information and have

         reviewed them with my client, Miguel Gerardo Rodriguez. Based upon my

         discussions with the defendant, I am satisfied that the defendant understands the

         factual basis and stipulation as well as the information, and is knowingly and

         voluntarily agreeing to these stipulated facts.



            il-
Dated:
                                             DAVID GROVE
                                             Attorney for the Defendant



                                             Respectful y submitted,

                                             JOSEPH D. BRO N
                                             UNITED STATES ATTORNEY




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